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                         UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 In re:                                       Chapter 7
 Blackrock Burr Ridge, Inc.                   Bankruptcy No. 17-33456
                       Debtor.                Honorable Jacqueline P. Cox


 MICHAEL K. DESMOND, not
 individually, but solely as Chapter 7
 Trustee for the Bankruptcy Estate of
 BLACKROCK BURR RIDGE, INC.,

                       Plaintiff,
                                              Adversary No. 19-00686
 V.

 Norah Sheehan and Joseph Sheehan,

                       Defendants.


                           JOINT LIST OF STIPULATED FACTS

          Pursuant to the Final Pretrial Order, Michael Desmond, not individually, but

solely as the Chapter 7 Trustee (the "Trustee" or "Plaintiff') for the Bankruptcy

Estate of Blackrock Burr Ridge, Inc. (the "Debtor"), along with Norah Sheehan

("Norah") and Joseph Sheehan ("Joseph", and, collectively with Norah, the

"Defendants"), hereby stipulate and agree that the facts stated in this Joint List of

Stipulated Facts are not in dispute, and shall be admitted into evidence at the trial

before this Court to begin on November 28, 2023.
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                                 STIPULATED FACTS
          1. The Trustee seeks to avoid and recover certain Transfers identified in

the Complaint pursuant to sections 544, 548 and 550 of the Bankruptcy Code.

          2. The Trustee also seeks to disallow any claims that the Defendants may

assert against the Debtor.

          3. This adversary proceeding arises in Blackrock's chapter 7 bankruptcy

case, pending before this Court as case number 17-33456 (the "Case").

          4. On November 8, 2017 (the "Petition Date"), Blackrock filed a

voluntary petition for relief under chapter 7 of the Bankruptcy Code, thereby

commencing the Case.

          5. Plaintiff is the duly appointed chapter 7 trustee of the bankruptcy

estate of Blackrock.

          6. Norah is, and has since 2007 been, a fifty percent (50%) shareholder of

Blackrock.

          7. Joseph is Norah's husband.

          8. On January 3, 2014, Judge Sanjay Tailor of the state court ordered

Sterling Bay Companies, LLC to deposit Blackrock Burr Ridge's "Profit Distribution

Proceeds" in the amount of$ 1,447,900.00 (plus any accumulated interest) with the

Clerk of the Court.


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          9. On January 21, 2016, Judge Sanjay Tailor of the state court ordered

the Clerk of the Court to "immediately release $1,447,900.90 plus interest accrued

in the Clerk's escrow account" and then to have these funds "made payable

Blackrock Burr Ridge, Inc, [and] Attorneys, Kreamer Law Group, LLC".

          10.On January 27, 2016, the Clerk of the Circuit Court of Cook County

issued check number 1605 (the "Check") payable to Blackrock Burr Ridge, Inc. and

Kreamer Law Group, LLC. in the amount of $1,458,060.35.

          11.On February 2, 2016, the Check was deposited into account number

x6689 ("Blackrock's Account") at Grand Ridge National Bank and owned by

Blackrock Burr Ridge Inc.

          12. Kreamer Law Group LLC was paid funds from the Debtor's account

totaling $103,000.00 on or around February 2, 2016.

          13.On February 9, 2016, the balance of the Check proceeds,

$1,355,060.35, was transferred (the "Transfer") from Blackrock's Account to

account number x2375 ("Defendants' Account") also held at Grand Ridge

National Bank and owned by Joseph and Norah.

          14. On or about February 17, 2016, Norah made a payment as against

mortgage loan number 767 with Grand Ridge National Bank.

           15. On or about February 17, 2016, Norah made a payment as against

mortgage loan number 7882 with Grand Ridge National Bank.
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            16. The Transfer occurred within two years of the Petition Date.

            17. Norah is an insider of the Debtor.

            18. Norah was a shareholder of the Debtor and was a recipient of the

Transfer.

            19. On April 5, 2017, Tarpey and Wix, as counsel, for Sterling Bay

Companies, LLC and others, filed a Supplemental Memorandum in Support of

Petition for Attorneys' Fees. That filing requested judgment against the Debtor of

$1,152,406.64, consisting of fees of $1,097,187.70 in attorneys' fees and $55,218.83

m expenses.

            20. On May 25, 2017, Judge Budzinski entered judgment awarding the

defendants their attorneys fees and costs of $1,152,406.64 and denying plaintiffs'

petition for attorneys' fees.

            21. Norah Sheehan never executed or submitted an Official Form 410,

Proof of Claim, in the Chapter 7 bankruptcy case of Blackrock Burr Ridge, Inc. Nor

was an Official Form 410, Proof of Claim, executed and submitted on her behalf.

            22. Daniel Tarpey, counsel for Sterling Bay Companies, LLC ("Sterling

Bay"), executed and submitted an Official Form 410, Proof of Claim, on behalf of

Sterling Bay on October 17, 2018.

            23. Sterling Bay is the only entity to submit an Official Form 410, Proof of


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Claim, in the Chapter 7 bankruptcy case of Blackrock Burr Ridge, Inc.


Dated: November 27, 2023

Respectfully submitted,


  Michael K. Desmond, not individually
  but solely in his capacity as the Chapter      Norah Sheehan, defendant
  7 trustee for the bankruptcy estate of
  Blackrock Burr Ridge, Inc.
  By: Isl William J. Factor
  One of His Attorneys
  William J. Factor (6205675)
  Lars A. Peterson (6293551)
  FACTORLAW                                      Joseph Sheehan, defendant



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